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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                               )    Chapter 7
    In re:                                                     )
                                                               )    Case No. 23-10576 (TMH)
    CHRISTMAS TREE SHOPS, LLC, et al.,1                        )
                                                               )    (Jointly Administered)
                                                               )
                                      Debtors.                 )
                                                               )

   NOTICE OF AGENDA FOR HEARING ON NOVEMBER 27, 2023 AT 11:00 A.M.
(PREVAILING EASTERN TIME) BEFORE THE HONORABLE THOMAS M. HORAN
    AT THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
     DELAWARE, LOCATED AT 824 NORTH MARKET STREET, 5th FLOOR,
           COURTROOM NO. 6, WILMINGTON, DELAWARE 19801

                         THE HEARING ON NOVEMBER 27, 2023 AT 11:00 A.M.
                       (PREVAILING EASTERN TIME) HAS BEEN CANCELLED.

ALL MATTERS HAVE BEEN ADJOURNED TO DECEMBER 15, 2023 at 10:00 a.m. (Prevailing
  Eastern Time). The December 15, 2023 hearing will be conducted in-person before the
  Honorable Thomas M. Horan, in the United States Bankruptcy Court for the District of
Delaware, 824 Market Street, 5th Floor, Courtroom #4. All parties, including witnesses, are
 expected to attend in person unless permitted to appear via Zoom. Participation at the in-
  person court proceeding using Zoom is allowed only in the following circumstances: (i) a
party who files a responsive pleading intends to make only a limited argument; (ii) a party
 who has not submitted a pleading but is interested in observing the hearing; or (iii) other
                 extenuating circumstances as determined by Judge Horan.
All participants over Zoom must register in advance. Please register by December 13, 2023,
                            at 4:00 p.m. (EST). at the link below.

     https://debuscourts.zoomgov.com/meeting/register/vJItce-grTIuHbU6Y_x3qpbi-vkV2hqIaw0


CASE STATUS CONFERENCE

1.           Status Conference




1     The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
      as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
      Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).



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         Status: The Trustee continues to work on a settlement of the payroll dispute with the
                interested parties. The Trustee and the interested parties have agreed to adjourn the
                status conference to December 15, 2023 at 10:00 a.m.

ADJOURNED MATTERS

2.       64 Leona Property Owner LLCs: (A) Objection to Debtors Motion for Entry of an Order
         (I) Authorizing the Debtors to Reject their Distribution Center Lease [Filed 08.14.23,
         Docket No. 527]

         Response Deadline: August 14, 2023

         Responses Received: None.

         Related Documents:

                   a.           Debtors' Motion for Entry of an Order (I) Authorizing The Debtors To
                                Reject Their Distribution Center Lease; and (II) Granting Related Relief
                                [Filed July 31, 2023, Docket No. 484].

                   b.           Certificate of Service [Filed 08.14.23, Docket No. 529].

         Status:                The matter is adjourned to December 15, 2023
                                at 10:00 a.m.

3.       Combined Third Monthly and Final Fee Application of Murphy & King, Professional
         Corporation as Counsel to the Debtors and Debtors In Possession for Allowance of
         Compensation and Reimbursement of Expenses for the (I) Monthly Period from August 1,
         2023 Through August 16, 2023 and (II) Final Period from May 5, 2023 Through August
         16, 2023] [Filed 09.15.23, Docket No. 639].

         Response Deadline: October 6, 2023

         Responses Received:

                   a.           Chapter 7 Trustee's Omnibus Response to Final Fee Applications of Chapter
                                11 Estate Professionals [Filed 10.05.23, Docket No. 662].

                   b.           Corrected Chapter 7 Trustee's Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                   c.           Debtors Professionals' Reply to the Corrected Chapter 7 Trustee's Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706].

         Related Documents:

                   a.           Certificates of Service [Filed 09.15.23, Docket No .647; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].

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                   b.           Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                   c.           Declaration of Marjorie E. Kaufman in Support of Debtors Professionals'
                                Reply to the Corrected Chapter 7 Trustee's Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

         Status: The matter is adjourned by agreement of the parties to December 15, 2023 at
                 10:00 a.m.

4.       Combined Third Monthly and Final Fee Application of Troutman Pepper Hamilton
         Sanders LLP as Counsel to The Debtors and Debtors In Possession for Allowance of
         Compensation and Reimbursement of Expenses for The (I) Monthly Period From August
         1, 2023 Through August 16, 2023 and (II) Final Period for the period May 5, 2023 to
         August 16, 2023 [Filed 09.15.23, Docket No. 640].

         Response Deadline: October 6, 2023

         Responses Received:

                   a.           Chapter 7 Trustee's Omnibus Response to Final Fee Applications of Chapter
                                11 Estate Professionals [Filed 10.05.23, Docket No. 662].

                   b.           Corrected Chapter 7 Trustee's Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                   c.           Debtors Professionals' Reply to the Corrected Chapter 7 Trustee's Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706].

         Related Documents:

                   a.           Certificates of Service [Filed 09.15.23, Docket No .647; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].

                   b.           Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                   c.           Declaration of Marjorie E. Kaufman in Support of Debtors Professionals'
                                Reply to the Corrected Chapter 7 Trustee's Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

         Status: The matter is adjourned by agreement of the parties to December 15, 2023 at
                 10:00 a.m.

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5.       Combined Fourth Monthly and Final Fee Application of Porzio, Bromberg & Newman,
         P.C. as Co-Counsel for the Official Committee of Unsecured Creditors, For Allowance Of
         Compensation And Reimbursement Of Expenses For The (I) Monthly Period From August
         1, 2023 Through August 16, 2023, and (II) Final Period for the period from May 22, 2023
         to August 16, 2023 [Filed 09.15.23, Docket No. 641].

         Response Deadline: October 6, 2023

         Responses Received:

                   a.           Chapter 7 Trustee's Omnibus Response to Final Fee Applications of Chapter
                                11 Estate Professionals [Filed 10.05.23, Docket No. 662].

                   b.           Corrected Chapter 7 Trustee's Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                   c.           Debtors Professionals' Reply to the Corrected Chapter 7 Trustee's Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706].

         Related Documents:

                   a.           Certificates of Service [Filed 09.15.23, Docket No .649; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].

                   b.           Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                   c.           Declaration of Marjorie E. Kaufman in Support of Debtors Professionals'
                                Reply to the Corrected Chapter 7 Trustee's Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

         Status: The matter is adjourned by agreement of the parties to December 15, 2023 at
                 10:00 a.m.

6.       Final Fee Application of Kurtzman Carson Consultants LLC, as Administrative Advisor to
         the Debtors, for the Period from May 5, 2023 Through and Including August 16, 2023
         [Filed 09.15.23, Docket No. 642].

         Response Deadline: October 6, 2023

         Responses Received:

                   a.           Chapter 7 Trustee's Omnibus Response to Final Fee Applications of Chapter
                                11 Estate Professionals [Filed 10.05.23, Docket No. 662].



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                   b.           Corrected Chapter 7 Trustee's Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                   c.           Debtors Professionals' Reply to the Corrected Chapter 7 Trustee's Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706]

         Related Documents:

                   a.           Certificates of Service [Filed 09.15.23, Docket No .647; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].].

                   b.           Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                   c.           Declaration of Marjorie E. Kaufman in Support of Debtors Professionals'
                                Reply to the Corrected Chapter 7 Trustee's Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

         Status: The matter is adjourned by agreement of the parties to December 15, 2023 at
                 10:00 a.m.

7.       Combined Third Monthly and Final Fee Application of FAAN Advisors Group Inc. as
         Financial Advisor to the Debtors and Debtors in Possession for Allowance of
         Compensation and Reimbursement of Expenses Incurred for the (I) Monthly Period from
         August 1, 2023 Through August 16, 2023 and (II) Final Period from May 5, 2023 Through
         August 16, 2023 [Filed 09.15.23, Docket No. 643].

         Response Deadline: October 6, 2023

         Responses Received:

                   a.           Chapter 7 Trustee's Omnibus Response to Final Fee Applications of Chapter
                                11 Estate Professionals [Filed 10.05.23, Docket No. 662].

                   b.           Corrected Chapter 7 Trustee's Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                   c.           Debtors Professionals' Reply to the Corrected Chapter 7 Trustee's Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706].

         Related Documents:

                   a.           Certificates of Service [Filed 09.15.23, Docket No .647; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].


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                   b.           Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                   c.           Declaration of Marjorie E. Kaufman in Support of Debtors Professionals'
                                Reply to the Corrected Chapter 7 Trustee's Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

         Status: The matter is adjourned by agreement of the parties to December 15, 2023 at
                 10:00 a.m.

8.       Third Monthly and Final Fee Application of Womble Bond Dickinson (US) LLP for
         Compensation for Services Rendered and Reimbursement of Expenses as Co-Counsel for
         the Official Committee of Unsecured Creditors for the Monthly Period from August 1,
         2023 through August 16, 2023 and for the Final Period for the period from May 22, 2023
         to August 16, 2023 [Filed 09.15.23, Docket No. 644].

         Response Deadline: October 6, 2023

         Responses Received:

                   a.           Chapter 7 Trustee's Omnibus Response to Final Fee Applications of Chapter
                                11 Estate Professionals [Filed 10.05.23, Docket No. 662].

                   b.           Corrected Chapter 7 Trustee's Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                   c.           Debtors Professionals' Reply to the Corrected Chapter 7 Trustee's Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706].

         Related Documents:

                   a.           Certificates of Service [Filed 09.15.23, Docket No .649; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].

                   b.           Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                   c.           Declaration of Marjorie E. Kaufman in Support of Debtors Professionals'
                                Reply to the Corrected Chapter 7 Trustee's Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

         Status: The matter is adjourned by agreement of the parties to December 15, 2023 at
                 10:00 a.m.

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9.       Second Monthly and Final Fee Application of Rock Creek Advisors, LLC for
         Compensation for Services Rendered and Reimbursement of Expenses as Financial
         Advisors for the Official Committee of Unsecured Creditors for the Monthly Period from
         August 1, 2023 Through August 16, 2023 and for the Final Period for the period from May
         23, 2023 to August 16, 2023 [Filed 09.15.23, Docket No. 645].

         Response Deadline: October 6, 2023

         Responses Received:

                   a.           Chapter 7 Trustee's Omnibus Response to Final Fee Applications of Chapter
                                11 Estate Professionals [Filed 10.05.23, Docket No. 662].

                   b.           Corrected Chapter 7 Trustee's Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                   c.           Debtors Professionals' Reply to the Corrected Chapter 7 Trustee's Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706].

         Related Documents:

                   a.           Certificates of Service [Filed 09.15.23, Docket No .649; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].

                   b.           Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                   c.           Declaration of Marjorie E. Kaufman in Support of Debtors Professionals'
                                Reply to the Corrected Chapter 7 Trustee's Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

         Status: The matter is adjourned by agreement of the parties to December 15, 2023 at
                 10:00 a.m.

10.      First and Final Application of SSG Advisors, LLC, Investment Banker to the Debtors, for
         Allowance of Compensation and Reimbursement of Expenses for the Period May 31, 2023
         Through and Including August 16, 2023 [Filed 09.15.23, Docket No. 646].

         Response Deadline: October 6, 2023

         Responses Received:

                   a.           Chapter 7 Trustee's Omnibus Response to Final Fee Applications of Chapter
                                11 Estate Professionals [Filed 10.05.23, Docket No. 662].



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                   b.           Corrected Chapter 7 Trustee's Omnibus Response to Final Fee Applications
                                of Chapter 11 Estate Professionals [Filed 10.12.23, Docket No. 674].

                   c.           Debtors Professionals' Reply to the Corrected Chapter 7 Trustee's Omnibus
                                Response to Final Fee Applications of Chapter 11 Estate Professionals
                                [Filed 11.08.23, Docket No. 706].

         Related Documents:

                   a.           Certificates of Service [Filed 09.15.23, Docket No .647; Filed 10.12.23,
                                Docket No. 675; Filed 11.08.23, Docket No. 710].

                   b.           Notice of Rescheduled Hearing on Final Fee Applications from October 25,
                                2023 at 10:00 a.m. (Eastern Time) to November 27, 2023 at 11:00 a.m.
                                (Eastern Time) [Filed 10.12.23, Docket No. 673].

                   c.           Declaration of Marjorie E. Kaufman in Support of Debtors Professionals'
                                Reply to the Corrected Chapter 7 Trustee's Omnibus Response to Final Fee
                                Applications of Chapter 11 Estate Professionals [Filed 11.08.23, Docket
                                No. 707].

         Status: The matter is adjourned by agreement of the parties to December 15, 2023 at
                 10:00 a.m.

11.      Bank of America, N.A.’s Motion for Relief from Stay to Exercise Setoff Rights Relating
         to a Deposit Account [Filed 09.20.23, Docket No. 652].

         Response Deadline: October 10, 2023

         Responses Received:

                   a.           Chapter 7 Trustees Objection to Bank of America, N.A.s Motion for Relief
                                From the Automatic Stay to Exercise Setoff Rights Relating to Deposit
                                Account [Filed 10.10.23, Docket No. 664].

         Related Documents: None.

         Status: The matter is adjourned by agreement of the parties to December 15, 2023 at
                 10:00 a.m.

12.      Motion for Payment of Administrative Expenses/Claims Filed by Aetna Life Insurance
         Company [Filed 09.26.23, Docket No. 657].

         Response Deadline: October 17, 2023. Response deadline was extended to November
         10, 2023 by agreement of the parties.




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         Responses Received:

                   a.           Limited Objection and Reservation of Rights of Chapter 7 Trustee Aetna
                                Life Insurance Company’s Application for Allowance and Payment of
                                Chapter 11 Administrative Expense and Reservation of Rights [Filed
                                11.10.23, Docket No. 708].

         Related Documents:

                   a.           Certificate of Service [Filed 11.10.23, Docket No. 709].

         Status: The matter is adjourned by agreement of the parties to December 15, 2023 at
                 10:00 a.m.

13.      Motion of Cherry Hill Retail Partners, LLC for an Order Allowing and Compelling
         Payment of Chapter 11 Administrative Claim Pursuant to 11 U.S.C. §§ 365(d)(3) and
         503(b) [Filed October 3, 2023, Docket No. 661].

         Response Deadline: October 17, 2023

         Responses Received:

                   a.           Limited Objection Limited Objection and Reservation of Rights of Chapter
                                7 Trustee to Motion of Cherry Hill Retail Partners, LLC for an Order
                                Allowing and Compelling Payment of Chapter 11 Administrative Claim
                                Pursuant to 11 U.S.C. §§ 365(d)(3) and 503(b [Filed October 17, 2023,
                                Docket No. 680].

         Related Documents: None

         Status: The matter is adjourned to December 15, 2023 at 10:00 a.m.

14.      Application for Allowance and Payment of Administrative Claim Pursuant to 11 U.S.C.
         Sections 365(D)(3), 503(B)(1)(A), and 507(A) Filed by Johnson Controls Security
         Solutions LLC [Filed 10.26.23, Docket No. 694].

         Response Deadline: November 20, 2023

         Responses Received: None.

         Related Documents: None.

         Status: The matter is adjourned to December 15, 2023 at 10:00 a.m.

ADVERSARY MATTER ADJOURNED 23-ap-50446

15.      Pre-Trial Conference



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         Status: The matter is adjourned by agreement of the parties to December 15, 2023 at
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Dated: November 21, 2023
                                             PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ Colin R. Robinson
                                             Bradford J. Sandler (DE Bar No. 4142)
                                             Colin R. Robinson (DE Bar No. 5524)
                                             Peter J. Keane (DE Bar No. 5503)
                                             Edward A. Corma (DE Bar No. 6718)
                                             919 North Market Street, 17th Floor
                                             P.O. Box 8705
                                             Wilmington, DE 19899-8705 (Courier 19801)
                                             Telephone: (302) 652-4100
                                             Facsimile: (302) 652-4400
                                             Email: bsandler@pszjlaw.com
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                                                     pkeane@pszjlaw.com
                                                     ecorma@pszjlaw.com
                                             Counsel for the Chapter 7 Trustee




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